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                                           6                               IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                           9
                                          10   APRIL COYLE,
For the Northern District of California




                                          11                  Plaintiff,                                           No. C 16-05674 WHA
    United States District Court




                                          12     v.
                                          13   CHASE BANK, USA, N.A.; EQUIFAX, INC.;                               JUDGMENT
                                               EXPERIAN INFORMATION SOLUTIONS,
                                          14   INC.,
                                          15                  Defendants.
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                                          17           For the reasons stated in the accompanying order dismissing this action, FINAL

                                          18   JUDGMENT IS HEREBY ENTERED in favor of Chase Bank, USA, N.A.; Equifax, Inc.; and

                                          19   Experian Information Solutions, Inc., and against April Coyle. The Clerk SHALL CLOSE THE

                                          20   FILE.

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                                          22           IT IS SO ORDERED.

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                                          24   Dated: April 13, 2017.
                                                                                                    WILLIAM ALSUP
                                          25                                                        UNITED STATES DISTRICT JUDGE
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